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            1       JOSHUA H. LERNER, SBN 220755               MARK D. SELWYN, SBN 244180
                      jlerner@gibsondunn.com                    mark.selwyn@wilmerhale.com
            2       GIBSON, DUNN & CRUTCHER LLP                WILMER CUTLER PICKERING,
                    555 Mission Street Suite 3000               HALE AND DORR LLP
            3       San Francisco, CA 94105                    2600 El Camino Real, Suite 400
                    Tel.: 415.393.8200 / Fax: 415.393.8306     Palo Alto, CA 94306
            4                                                  Tel.: 650.858.6000 / Fax: 650.858.6100
                    H. MARK LYON, SBN 162061
            5         mlyon@gibsondunn.com                     ILISSA SAMPLIN, SBN 314018
                    GIBSON, DUNN & CRUTCHER LLP                  isamplin@gibsondunn.com
            6       1881 Page Mill Road                        GIBSON, DUNN & CRUTCHER LLP
                    Palo Alto, CA 94304-1211                   333 South Grand Avenue
            7       Tel.: 650.849.5300 / Fax: 650.849.5333     Los Angeles, CA 90071-3197
                                                               Tel.: 213.229.7000 / Fax: 213.229.7520
            8       BRIAN M. BUROKER, pro hac vice
                      bburoker@gibsondunn.com                  ANGELIQUE KAOUNIS, SBN 209833
            9       BRIAN K. ANDREA, pro hac vice                akaounis@gibsondunn.com
                      bandrea@gibsondunn.com                   GIBSON, DUNN & CRUTCHER LLP
          10        GIBSON, DUNN & CRUTCHER LLP                2029 Century Park East Suite 4000
                    1050 Connecticut Avenue, N.W.              Los Angeles, CA 90067
          11        Washington, D.C. 20036                     Tel.: 310.552.8546 / Fax: 310.552.7026
                    Tel.: 202.955.8500 / Fax: 202.467.0539
          12
                    BRIAN A. ROSENTHAL, pro hac vice
          13          brosenthal@gibsondunn.com
                    GIBSON, DUNN & CRUTCHER LLP
          14        200 Park Avenue
                    New York, NY 10166-0193
          15        Tel.: 212.351.2339 / Fax: 212.817.9539
          16        Attorneys for Defendant Apple Inc.
          17                            UNITED STATES DISTRICT COURT
          18                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                             SOUTHERN DIVISION
          19
                    MASIMO CORPORATION,                        CASE NO. 8:20-cv-00048-JVS (JDEx)
          20        a Delaware corporation; and
                    CERCACOR LABORATORIES, INC.,
          21        a Delaware corporation,                    PROPOSED STATEMENT OF
                                                               UNCONTROVERTED FACTS AND
          22                           Plaintiffs,             CONCLUSIONS OF LAW IN
                                                               SUPPORT OF DEFENDANT APPLE
          23              v.                                   INC.’S MOTION FOR PARTIAL
                                                               SUMMARY JUDGMENT ON THE
          24        APPLE INC.,                                THIRTEENTH CAUSE OF ACTION
                    a California corporation,                  FOR TRADE SECRET
          25                                                   MISAPPROPRIATION
                                       Defendant.
          26                                                   Hearing
          27                                                   Date: February 7, 2022
                                                               Time: 1:30pm
          28                                                   Courtroom: 10C
                                                               Judge: Hon. James V. Selna
Gibson, Dunn &
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Crutcher LLP        SUF ISO APPLE’S MOT. FOR PARTIAL SUMMARY JUDGMENT ON PLAINTIFFS’ CUTSA CLAIM
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            1              Pursuant to Local Rule 56-1, Defendant Apple Inc. (“Apple”) respectfully
            2       submits the following Statement of Uncontroverted Facts and Conclusions of Law in
            3       support of Apple’s Motion For Partial Summary Judgment.
            4
            5       I.     STATEMENT OF UNCONTROVERTED FACTS
            6
            7        No.     Fact                                               Evidence
            8        1.      Dr. Michael O’Reilly is Plaintiff Masimo           Fourth Amended Compl.
            9                Corporation’s (“Masimo”) former employee           (“4AC”), Dkt. 296-1, ¶¶
          10                 and Dr. Marcelo Lamego is Plaintiff Cercacor       20-24.
          11                 Laboratories, Inc.’s (“Cercacor”) former
          12                 employee.
          13         2.      O’Reilly began working at                          4AC ¶ 20.
          14                 Apple in July 2013.
          15         3.      Lamego began working at Apple in January           4AC ¶ 23.
          16                 2014.
          17         4.      Plaintiff Cercacor sent Apple a letter on          4AC ¶ 23; Andrea Decl.
          18                 January 24, 2014 stating that “Apple had been      Ex. 1 (“January 2014
          19                 targeting Masimo and Cercacor” employees           Letter”) at 1.
          20                 for hiring, including after “Cercacor’s owners”
          21                 indicated “they had no current desire to sell.”
          22         5.      The January 24, 2014 letter stated that Apple      January 2014 Letter at 1.
          23                 hired Lamego “to design and develop products
          24                 that are likely the same as the products that he
          25                 was responsible for developing for [Plaintiff]
          26                 Cercacor.”
          27         6.      The January 24, 2014 letter stated “Lamego         January 2014 Letter at 1.
          28                 learned, and personally conceived, a large
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            1
                             number of very valuable trade secrets while he
            2
                             was at [Plaintiff] Masimo, and he continued to
            3
                             use and improve those trade secrets under
            4
                             license from Masimo when Cercacor was spun
            5
                             off from Masimo.”
            6
                    7.       The January 24, 2014 letter stated Apple         January 2014 Letter at 2.
            7
                             should refrain from assigning Lamego to work
            8
                             on “healthcare technology, including mobile
            9
                             health applications and the measurement of
          10
                             physiological information.”
          11
                    8.       The January 24, 2014 letter stated that          January 2014 Letter at 2.
          12
                             employing either O’Reilly or Lamego to work
          13
                             on “mobile health device[] projects” would be
          14
                             taken as a sign that “Apple is attempting to
          15
                             gain access to, or at least the benefit of,
          16
                             [Plaintiffs’] trade secrets.”
          17
                    9.       The January 24, 2014 letter attached a           January 2014 Letter at 3-
          18
                             confidentiality agreement that Lamego had        4.
          19
                             signed when he was an employee of Plaintiff
          20
                             Cercacor.
          21
                    10.      The confidentiality agreement attached to the    January 2014 Letter at 2,
          22
                             January 24, 2014 letter stated: “I agree that    4.
          23
                             [working for a competitor of Plaintiff
          24
                             Cercacor] would necessarily involve the use or
          25
                             disclosure of Masimo[’s] … trade secrets and
          26
                             proprietary … information.”
          27
                    11.
          28

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                    12.
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                    13.      Apple continued to develop and improve its        4AC ¶ 25; Andrea Decl.
            9
                             healthcare technologies after receiving the       Ex. 3.
          10
                             January 24, 2014 letter.
          11
                    14.      On March 9, 2015, Apple publicly announced        Andrea Decl. Ex. 3.
          12
                             ResearchKit.
          13
                    15.      Apple’s announcement of ResearchKit               Andrea Decl. Ex. 3.
          14
                             described it as “an open source software
          15
                             framework designed for medical and health
          16
                             research, helping doctors and scientists gather
          17
                             data more frequently and more accurately
          18
                             from participants using iPhone® apps.”
          19
                    16.      Numerous media outlets covered Apple’s            Andrea Decl. Exs. 4, 5, 6,
          20
                             ResearchKit announcement.                         7, 8.
          21
                    17.      Numerous media outlets, including USA             Andrea Decl. Exs. 9, 10,
          22
                             Today, the Chicago Tribune, The New York          11, 12.
          23
                             Times, and The Wall Street Journal, reported
          24
                             that O’Reilly had attended a December 2013
          25
                             meeting with the FDA on Apple’s behalf
          26
                             regarding “mobile medical applications.”
          27
                    18.
          28

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                    19.      On March 3, 2016, the U.S. Patent Office           Andrea Decl. Ex. 15
            6
                             published a patent application for healthcare      (’726 publication) at 1.
            7
                             technology that listed an August 28, 2014
            8
                             priority date.
            9
                    20.      The March 3, 2016 Patent Application’s             ’726 publication at 1.
          10
                             identifier is Pub. No. 2016/0061726.
          11
                    21.      The ’726 publication names Apple as the            ’726 publication at 1.
          12
                             applicant and Lamego as a co-inventor.
          13
                    22.      The ’726 publication describes “optical            ’726 publication ¶ 29.
          14
                             sensing systems configured to provide
          15
                             functionality such as fitness or health tracking
          16
                             or physiological date collection.”
          17
                    23.      The ’726 publication also explains how the         ’726 publication ¶ 29.
          18
                             disclosed system could be used as a “medical
          19
                             diagnostic tool … that can be placed against a
          20
                             patient’s skin in order to obtain physiological
          21
                             characteristics of said patient.”
          22
                    24.      The ’726 publication includes a “smart watch” ’726 publication ¶¶ 5-6.
          23
                             embodiment, which can obtain “certain
          24
                             physiological data about the user such as heart
          25
                             rate, respiration rate, blood oxygenation, blood
          26
                             pressure, and so on.”
          27
                    25.      On May 6, 2014, the Chicago Tribune                Andrea Decl. Ex. 10.
          28

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            1
                             published an article entitled “Apple on
            2
                             medical tech hiring spree, a possible hint of
            3
                             iWatch plans.”
            4
                    26.      The Chicago Tribune article quoted Plaintiffs’     Andrea Decl. Ex. 10 at 6.
            5
                             CEO Joseph Kiani as stating that Apple had
            6
                             “recruited” his former employees “with access
            7
                             to deep wells of [Plaintiffs’] trade secrets and
            8
                             information” and that Apple was “just buying
            9
                             people.”
          10
                    27.      The Chicago Tribune article specifically           Andrea Decl. Ex. 10 at 5.
          11
                             named O’Reilly and Lamego as employees
          12
                             who had been “poached” from Plaintiffs.
          13
                    28.
          14
          15
          16
          17
          18
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          21
                    29.      In April 2015, Paul Jansen—a Masimo                Andrea Decl. Ex. 18 at 1.
          22
                             executive—sent O’Reilly an email
          23
                             highlighting a recent news article about the
          24
                             Apple Watch.
          25
                    30.      Jansen’s April 2015 email stated that the          Andrea Decl. Ex. 18 at 1.
          26
                             article’s reference to potential “pulse oximetry
          27
                             functionality” in the Apple Watch has “caught
          28

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            1
                             [his] eye” and that “I’m sure these reports are
            2
                             always 100% accurate :)”
            3
                    31.      Lamego ultimately left Apple to form his own      Andrea Decl. Ex. 19 at 2.
            4
                             company, named True Wearables.
            5
                    32.
            6
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                    33.
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                    34.
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                    38.      Plaintiffs filed suit against Apple for trade      Original Complaint, Dkt.
            8
                             secret misappropriation on January 9, 2020.        1.
            9
                    39.      Plaintiffs did not take any legal action against   4AC ¶ 262
          10
                             Apple prior to January 9, 2020.
          11
                    40.      Plaintiffs allege that O’Reilly and Lamego         4AC ¶¶ 228, 230, 232.
          12
                             breached their confidentiality agreements by
          13
                             disclosing Plaintiffs’ alleged trade secrets to
          14
                             Apple.
          15
                    41.
          16
          17
          18
          19
          20
                    42.      Plaintiffs’ complaint relies in part on Apple      4AC ¶ 263; Andrea Decl.
          21
                             patent filings, including U.S. Patent No.          Ex. 22 (’095 Patent).
          22
                             9,952,095 (’095 patent).
          23
                    43.      The ’095 patent and the ’726 publication both      ’095 Patent 2:3-34; ’726
          24
                             relate to light emitter technology used for        Publication ¶¶ 5-9.
          25
                             health monitoring to increase reliability of
          26
                             biological readings.
          27
                    44.      Several figures in the ’726 publication are        ’095 Patent fig. 1a-2b;
          28

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            1
                                identical or nearly identical to the figures in   ’726 Publication fig. 1a-
            2
                                the ’095 patent.                                  2b.
            3
                     45.        The ’726 publication and ’095 share identical     The similar passages for
            4
                                or nearly identical written description text.     each document are
            5
                                                                                  highlighted in the exhibit
            6
                                                                                  copy. Compare, e.g.,
            7
                                                                                  ’095 Patent 5:47-6:63
            8
                                                                                  with ’726 Publication ¶¶
            9
                                                                                  51-57.
          10
                     46.        Plaintiffs were aware of Lamego’s purported       Andrea Decl. Ex. 19 at
          11
                                misappropriation by January 4, 2016.              19.
          12
          13
                    II.     PROPOSED CONCLUSIONS OF LAW
          14
                           1.      Under the California Uniform Trade Secret Act, a plaintiff must file suit
          15
                    within three years after it discovered or reasonably could have discovered defendant’s
          16
                    purported misappropriation. Cal. Civ. Code § 3426.6; see also, e.g., MGA Entm’t, Inc.
          17
                    v. Mattel, Inc., 41 Cal. App. 5th 554, 564 (2019).
          18
                           2.      “[T]he standard for accrual of the statute of limitations … is not the
          19
                    receipt of documentary evidence of misappropriation,” MGA Entm’t, 41 Cal. App. 5th
          20
                    at 563-564. Rather, the statute of limitations begins to run when the plaintiff has at
          21
                    least constructive notice of the misappropriation. See E-FAB, Inc. v. Accts. Inc. Servs.,
          22
                    153 Cal. App. 4th 1308, 1318-1319 (2007).
          23
                           3.      One form of constructive notice is inquiry notice. Once the plaintiff has
          24
                    enough information to have a reason to suspect that it has been injured, it is on inquiry
          25
                    notice. E-FAB, 153 Cal. App. at 1318-1319; see, e.g., Fulfillium v. ReShape Med.
          26
                    LLC, 2018 WL 11354522, at *5 (C.D. Cal. Nov. 6, 2018); Wolf v. Travolta, 167 F.
          27
                    Supp. 3d 1077, 1102 (C.D. Cal. 2016); Gabriel Techs. Corp. v. Qualcomm Inc., 857 F.
          28

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            1    Supp. 2d 997, 1003 (S.D. Cal 2012).
            2          4.     While Plaintiffs have alleged that they did not have a reason to suspect
            3    Apple’s purported misappropriation prior to January 10, 2017—i.e., three years before
            4    this suit was filed—the undisputed evidence shows otherwise.
            5          5.     Specifically, (1) Plaintiffs informed Apple that if it employed O’Reilly
            6    and Lamego to work on healthcare technology, the two would necessarily use or
            7    disclose Plaintiffs’ trade secrets, (2) Apple openly employed O’Reilly and Lamego to
            8    work on healthcare technology, and (3)
            9
          10
          11
          12           6.     Because Apple has met its initial burden of demonstrating that Plaintiffs’
          13     claims are time barred, “the burden [now] shifts to … the non-moving party to
          14     establish that there is sufficient evidence in the record from which a reasonable trier of
          15     fact could conclude that Plaintiffs’ claims are not time barred” or that “an equitable
          16     exception” to the statute of limitations applies. Wolf, 167 F. Supp. 3d at 1091-1092.
          17           7. In light of the undisputed facts discussed above, Plaintiffs can make neither
          18     showing.
          19           8. Accordingly, their trade secrets claim is barred by the statute of limitations as
          20     a matter of law.
          21
          22     Dated: December 7, 2021                 Respectfully submitted,
          23                                             JOSHUA H. LERNER
                                                         H. MARK LYON
          24                                             BRIAN M. BUROKER
                                                         BRIAN A. ROSENTHAL
          25                                             ILISSA SAMPLIN
                                                         ANGELIQUE KAOUNIS
          26                                             BRIAN ANDREA
                                                         GIBSON, DUNN & CRUTCHER LLP
          27
                                                         MARK D. SELWYN
          28                                             WILMER CUTLER PICKERING
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            1                                           HALE AND DORR LLP
            2
            3                                         By: /s/ Mark D. Selwyn
                                                          Mark D. Selwyn
            4
            5                                         Attorneys for Defendant Apple Inc.
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